






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS







IN THE MATTER OF 


E.I.G., A JUVENILE
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No. 08-07-00027-CV



Appeal from the


65th District Court


of El Paso County, Texas 


(TC#  05,01512) 



O P I N I O N


	E.I.G. challenges the legal and factual sufficiency of the evidence to support the jury's
finding that he engaged in delinquent conduct by committing the offense of aggravated sexual
assault.  We will affirm the judgment as modified.

	The victim, M.C., testified that on the night of October15, 2005, she went with Jeanette,
her sister Gemma, Oscar, and Oscar's uncle to a house in Socorro, TX.  There, M.C. had several
teguila drinks and Oscar also gave her an ecstasy pill.  Later, Jeanette asked Oscar's uncle where
M.C. was, and he said that she was in his room with E.I.G.  Oscar's uncle would not let her go
into the room.

	M.C.'s next memory was waking up in a room with a man she did not know, and she was
only wearing her blouse.  She did not remember if the male in the room with her did anything. 
At school, the following Tuesday, she reported to Ms. Rodriguez, a counselor, that she had been
sexually assaulted.  She believed she had been assaulted because her vagina was hurting, she had
a hickey, and was not wearing her clothes when she awoke.

	Gemma testified that M.C. got her own drinks at the party, and asked Oscar for an ecstasy
pill.  Gemma said M.C. and E.I.G. went into a bedroom for about forty-five minutes.  When
Gemma opened the door, she saw E.I.G. on top of M.C.  Gemma asked E.I.G., "Did you f***
[M.C.]?" in Spanish.  He replied "yes."  Gemma also testified that she did not see either of them
naked or having sexual intercourse.

	Detective Arriola testified that he was assigned to investigate a sexual assault and told to
proceed to Sierra Medical.  The rape exam only reached the preliminary stages because the
seventy-two hour period had already elapsed.  Detective Arriolla sent the clothes that M.C. had
been wearing to the lab to be analyzed.  The lab report stated that no indications of semen or
blood was detected on the victim's panties, and no stains having the appearance of semen were
detected on the pants or blouse.  The rape kit report shows that no body surface injuries were
noted, no signs of trauma in the genital area were found, a check for sperm was not done, and the
doctor found the exam to be negative.

	In Issue One, Appellant argues that the evidence was legally and factually insufficient
because the State did not present evidence that the Appellant sexually assaulted M.C. by having
his sexual organ contact M.C.'s sexual organ, and failed to corroborate Appellant's oral
statement to Gemma.  We review adjudications of delinquency in juvenile cases by applying the
same standards applicable to sufficiency of the evidence challenges in criminal cases.  In re
M.C.L., 110 S.W.3d 591, 594 (Tex.App.--Austin 2003, no pet.).

	In a legal sufficiency challenge, we consider all of the evidence in the light most
favorable to the verdict and determine whether, based on that evidence and reasonable inferences 
therefrom, a rational juror could have found the essential elements of the crime beyond a
reasonable doubt.  Rollerson v. State, 227 S.W.3d 718, 724 (Tex.Crim.App. 2007).  Evidence
that is legally sufficient, can still be factually insufficient.  Id.  In reviewing the factual
sufficiency of the evidence, we view all the evidence in a neutral light.  Johnson v. State, 23
S.W.3d 1, 7 (Tex.Crim.App. 2000).  Evidence is factually insufficient to support the verdict if it
is clearly wrong or manifestly unjust, or the verdict is against the great weight and preponderance
of the evidence.  Rollerson, 227 S.W.3d at 724.  Under both standards, the reviewing court must
consider all of the evidence.  Id.  "The difference between the two standards is that the former
requires the reviewing court to defer to the jury's credibility and weight determinations while the
latter permits the reviewing court to substitute its judgment for the jury's on these question
'albeit to a very limited degree.'"  Id., quoting Watson v. State, 204 S.W.3d 404, 416-17
(Tex.Crim.App. 2006).  There is little actual difference between the two standards of review.  Id.

	Sufficiency of the evidence should be measured by the elements of the offense as defined
by the hypothetically correct jury charge for the case.  Malik v. State, 953 S.W.2d 234, 240
(Tex.Crim.App. 1997).  A hypothetically correct jury charge accurately sets out the law, is
authorized by the indictment, does not unnecessarily increase the State's burden of proof or
restrict the State's theories of liability, and adequately describes the particular offense for which
the defendant was tried.  Id.  The law as authorized by the indictment means the statutory
elements of the charged offense as modified by the charging instrument.  Curry v. State, 30
S.W.3d 394, 404 (Tex.Crim.App. 2000).  This standard can be applied to all trials, whether to the
bench or to the jury, whether or not the indictment is facially complete, and regardless of the
specific wording of the jury charge actually given.  Malik, 953 S.W.2d at 240.  This standard
ensures that a judgment of acquittal is reserved for when there is an actual failure in the State's
proof of the crime rather than a mere error in the jury charge submitted.  Id.  The hypothetically
correct standard applies to factual sufficiency reviews as well.  See Wooley v. State, 273 S.W.3d
260, 266-67 (Tex.Crim.App. 2008).

	The petition based on delinquent conduct states in relevant part:

	(Count 2) That said child engaged in delinquent conduct, to wit:  the above name
child engaged in conduct other than a traffic offense, which violated a penal law
of this State punishable by imprisonment in that heretofore, to wit:  on or about
the 15th day of October, 2005, and anterior to the presentment of this petition, in
the County of El Paso and State of Texas, the said E.I.G., did then and there
intentionally or knowingly cause the sexual organ of [M.C.], to contact the sexual
organ of the said E.I.G. and without the consent of the said [M.C.], in violation of
Section 22.021 of the Texas Penal Code.  


The instructions to the jury includes the following definition:

AGGRAVATED SEXUAL ASSAULT


	A person commits an offense if the person intentionally or knowingly causes the
sexual organ of another person without that person's consent to contact or
penetrate the mouth, anus, or sexual organ of another person including the actor.  


The instructions for Count 2 state:

		Now, if you find from the evidence beyond a reasonable doubt, that on or
about the 15th day of October, 2005, in the County of El Paso and State of Texas,
that the said E.I.G., did then and there intentionally or knowingly cause the sexual
organ of [M.C.], to contact the sexual organ of the said E.I.G. and without the
consent of the said [M.C.], has engaged in delinquent conduct as alleged in
Special Issue Number Two.

		Unless you so find beyond a reasonable doubt, or if you have a reasonable
doubt thereof, that the juvenile has engaged in delinquent conduct under Special
Issue Number Two, you will find that the juvenile has not engaged in delinquent
conduct for the charge of Aggravated Sexual Assault.


The jury found and the order of adjudication states that E.I.G. had engaged in delinquent conduct
of aggravated sexual assault.  The documents set out the elements of the offense as intentionally
or knowingly cause the sexual organ of M.C., to contact the sexual organ of the said E.I.G. and
without the consent of the said M.C., in violation of Section 22.021 of the Texas Penal Code. 
These elements only make up the offense of sexual assault not aggravated sexual assault.  See
Tex.Penal Code Ann. §§ 22.011, 22.021 (Vernon Supp. 2008).  There are no aggravating
factors alleged in the petition of delinquent conduct, instructions to the jury, or the special issues. 
As such, we will review the sufficiency of the evidence by the elements of the offense as defined
by the hypothetically correct jury charge for the case, which in this case is sexual assault not
aggravated sexual assault.  See Malik, 953 S.W.2d at 240.

	Appellant argues that the evidence is both legally and factually insufficient.  More
specifically, Appellant argues the State failed to present any evidence that Appellant's sexual
organ made contact with the sexual organ of M.C., and the evidence supporting the verdict is too
weak to support a finding of guilt beyond a reasonable doubt..

	The evidence at trial showed that E.I.G. was in a bedroom with M.C. for approximately
forty-five minutes.  Gemma saw E.I.G. on top of M.C., and he jumped off when she opened the
door.  Gemma asked E.I.G. "[D]id you f*** [M.C.]?," and E.I.G. responded "yes."  Gemma said
it looked like E.I.G. was having sex with M.C., and M.C. was unconscious.  M.C. testified that
she woke up naked from the waist down.  M.C. also said that her vagina hurt afterwards. 
Gemma stated that she did not see them having sex, and it looked like E.I.G. had pajamas on. 
The rape kit was not completed, but the examination showed that there was no visible trauma to
the sexual organs of M.C.  A check for sperm was not done, and the report states that the exam
was negative.  The clothing that was sent to be analyzed contained no blood or semen.

	Circumstantial evidence is as probative as direct evidence in establishing the guilt of an
actor, and is sufficient by itself to establish guilt.  Hooper v. State, 214 S.W.3d 9, 13
(Tex.Crim.App. 2007).  Appellant was seen on top of an unconscious M.C., and jumped off her
when someone entered in the room.  M.C. said she was only wearing her blouse when she came
to.  E.I.G. stated that he had sexual intercourse with M.C. when asked about it by Gemma.  The
Court of Criminal Appeals has held:

	While an uncorroborated extrajudicial statement of a defendant is insufficient to
establish the corpus delicti of a crime, if there is some evidence corroborating a
confession, the confession may be used to establish the corpus delicti . . . .

.               .               .



	[A]nd the extrajudicial admission sufficiently supported the jury's finding beyond
a reasonable doubt that appellant committed the offense.


Fisher v. State, 851 S.W.2d 298, 302 (Tex.Crim.App. 1993).


	We find after reviewing the evidence in light most favorable to the verdict that a rational
jury could have found the essential elements of the offense beyond a reasonable doubt, and after
a neutral review of the evidence that the verdict is neither clearly wrong or manifestly unjust or
against the great weight and preponderance of the evidence.  Appellant's sole issue is overruled.

	As an appellate court, we have the authority to modify the trial court's judgment and
affirm it as modified.  Tex.R.App.P. 43.2(b).  While the offense in the indictment, instructions,
and order of adjudication is labeled as aggravated sexual assault under Tex.Penal Code Ann.
§&nbsp;22.021, the elements of the offense only encompass sexual assault under Tex.Penal Code
Ann. § 22.011.  Accordingly, we modify the order of adjudication to reflect that E.I.G. engaged
in delinquent conduct of sexual assault in violation of Tex.Penal Code Ann. § 22.011.

	Having overruled Appellant's sole issue, we affirm the judgment of the trial court as
modified.



May 20, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Carr, JJ.

Carr, J., Not Participating


